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                                           August 1, 2018


Honorable Robert D. Drain
United States Bankruptcy Court
300 Quarropas Street
White Plains, NY 10601-4140


Re:           Rosendo Ferran
Creditor:     Bank of America, N.A.
Case:         17-23424-rdd
Property:     20 Canterbury Road, White Plains, NY 10607


Dear Judge Robert D. Drain:


Our office represents Bank of America, N.A. in the above referenced matter. The Order directing Loss
Mitigation was entered on February 6, 2018. On May 18, 2018, our Firm filed the Creditor affidavit.

The most recent status hearing set for May 23, 2018 was adjourned to July 25, 2018. At this hearing,
Bank of America, N.A. was ordered to convey a settlement offer to Debtor by August 1, 2018. Please
allow this letter to confirm that on August 1, 2018 the undersigned conveyed an offer to settle the
amount owed on Proof of Claim No. 13-1. The parties are finalizing the terms of the settlement, and
will advise update the Court once resolved.

       Thank you for your time and consideration.

                                               Respectfully,

                                               /s/ Jenelle C. Arnold
                                               Jenelle C. Arnold, Esq.
